Case 3:17-cv-00072-NKM-JCH Document 792-4 Filed 07/03/20 Page 1 of 6 Pageid#:
                                 11573




                  EXHIBIT D
Case 3:17-cv-00072-NKM-JCH Document 792-4 Filed 07/03/20 Page 2 of 6 Pageid#:
                                 11574




                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOYAL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.




 PLAINTIFFS’ NOTICE OF DEPOSITION OF DEFENDANT ELLIOTT KLINE A/K/A
                            ELI MOSLEY
Case 3:17-cv-00072-NKM-JCH Document 792-4 Filed 07/03/20 Page 3 of 6 Pageid#:
                                 11575



       PLEASE TAKE NOTICE that pursuant to Rule 30(b)(1) of the Federal Rules of Civil

Procedure, Plaintiffs, by and through their undersigned counsel, will take the deposition upon oral

examination of Defendant Elliott Kline a/k/a Eli Mosley at 9:30 a.m. ET on July 2, 2020, and

continuing from day to day until completed. The deposition will take place before a Notary Public

or other person authorized by law to administer oaths. The deposition will take place via

videoconference, as agreed upon by the parties, or at such other location, date, method, and time

as may be mutually agreed upon by the parties. The deposition will be recorded by stenographic

means, and may be recorded by video means and through the instant visual display of the

testimony. The deposition will be taken for the purposes of discovery and all other purposes

permitted by the Federal Rules of Civil Procedure.




Dated: June 1, 2020

                                                     /s/ Jessica E. Phillips
                                                     Jessica E. Phillips (pro hac vice)
                                                     BOIES SCHILLER FLEXNER LLP
                                                     1401 New York Ave NW
                                                     Washington, DC 20005
                                                     Telephone: (202) 637-2727
                                                     Fax: (202) 237-6131
                                                     jphillips@bsfllp.com




                                                2
Case 3:17-cv-00072-NKM-JCH Document 792-4 Filed 07/03/20 Page 4 of 6 Pageid#:
                                 11576



Of Counsel:

 Roberta A. Kaplan (pro hac vice)         Karen L. Dunn (pro hac vice)
 Julie E. Fink (pro hac vice)             Jessica E. Phillips (pro hac vice)
 Gabrielle E. Tenzer (pro hac vice)       William A. Isaacson (pro hac vice)
 Joshua A. Matz (pro hac vice)            Katherine M. Cheng (pro hac vice)
 Michael L. Bloch (pro hac vice)          BOIES SCHILLER FLEXNER LLP
 Jonathan R. Kay (pro hac vice)           1401 New York Ave, NW
 Alexandra K. Conlon (pro hac vice)       Washington, DC 20005
 Emily C. Cole (pro hac vice)             Telephone: (202) 237-2727
 KAPLAN HECKER & FINK, LLP                Fax: (202) 237-6131
 350 Fifth Avenue, Suite 7110             kdunn@bsfllp.com
 New York, NY 10118                       jphillips@bsfllp.com
 Telephone: (212) 763-0883                wisaacson@bsfllp.com
 rkaplan@kaplanhecker.com                 kcheng@bsfllp.com
 jfink@kaplanhecker.com
 gtenzer@kaplanhecker.com                 Yotam Barkai (pro hac vice)
 jmatz@kaplanhecker.com                   BOIES SCHILLER FLEXNER LLP
 mbloch@kaplanhecker.com                  55 Hudson Yards, 20th Floor
 jkay@kaplanhecker.com                    New York, NY 10001
 aconlon@kaplanhecker.com                 Telephone: (212) 446-2300
 ecole@kaplanhecker.com                   Fax: (212) 446-2350
                                          ybarkai@bsfllp.com
 Robert T. Cahill (VSB 38562)
 COOLEY LLP                               Alan Levine (pro hac vice)
 11951 Freedom Drive, 14th Floor          Philip Bowman (pro hac vice)
 Reston, VA 20190-5656                    COOLEY LLP
 Telephone: (703) 456-8000                55 Hudson Yards
 Fax: (703) 456-8100                      New York, NY 10001
 rcahill@cooley.com                       Telephone: (212) 479-6260
                                          Fax: (212) 479-6275
 David E. Mills (pro hac vice)            alevine@cooley.com
 Joshua M. Siegel (VSB 73416)             pbowman@cooley.com
 COOLEY LLP
 1299 Pennsylvania Avenue, NW             John B. Rottenborn (VSB No. 84796)
 Suite 700                                Woods Rogers PLC
 Washington, DC 20004                     10 South Jefferson Street, Suite 1400
 Telephone: (202) 842-7800                Roanoke, Va. 24011
 Fax: (202) 842-7899                      Telephone: (540) 983-7600
 dmills@cooley.com                        Fax: (540) 983-7711
 jsiegel@cooley.com                       brottenborn@woodsrogers.com


                                          Counsel for Plaintiffs




                                      3
Case 3:17-cv-00072-NKM-JCH Document 792-4 Filed 07/03/20 Page 5 of 6 Pageid#:
                                 11577




                                CERTIFICATE OF SERVICE

        I hereby certify that on June 1, 2020, I served the foregoing upon following counsel and
pro se defendants, via electronic mail, as follows:

 Justin Saunders Gravatt                            James E. Kolenich
 David L. Hauck                                     Kolenich Law Office
 David L. Campbell                                  9435 Waterstone Blvd. #140
 Duane, Hauck, Davis & Gravatt, P.C.                Cincinnati, OH 45249
 100 West Franklin Street, Suite 100                jek318@gmail.com
 Richmond, VA 23220
 jgravatt@dhdglaw.com                               Elmer Woodard
 dhauck@dhdglaw.com                                 5661 US Hwy 29
 dcampbell@dhdglaw.com                              Blairs, VA 24527
                                                    isuecrooks@comcast.net
 Counsel for Defendant James A. Fields, Jr.
                                                    Counsel for Defendants Matthew Parrott,
 Bryan Jones                                        Traditionalist Worker Party, Jason Kessler,
 106 W. South St., Suite 211                        Nathan Damigo, and Identity Europa, Inc.
 Charlottesville, VA 22902                          (Identity Evropa)
 bryan@bjoneslegal.com
                                                    John A. DiNucci
 Counsel for Defendants Michael Hill,               Law Office of John A. DiNucci
 Michael Tubbs, and League of the South             8180 Greensboro Drive, Suite 1150
                                                    McLean, VA 22102
 W. Edward ReBrook                                  dinuccilaw@outlook.com
 The ReBrook Law Office
 6013 Clerkenwell Court                             Counsel for Defendant Richard Spencer
 Burke, VA 22015
 edward@rebrooklaw.com                              Robert Ray
                                                    azzmador@gmail.com
 Counsel for Defendants National Socialist
 Movement, Nationalist Front and Jeff Schoep        Vanguard America
                                                    c/o Dillon Hopper
 Matthew Heimbach                                   dillon_hopper@protonmail.com
 matthew.w.heimbach@gmail.com
                                                    Elliott Kline
 Christopher Cantwell                               eli.f.mosley@gmail.com
 christopher.cantwell@gmail.com                     deplorabletruth@gmail.com
                                                    eli.r.kline@gmail.com


                                                      /s/ Jessica E. Phillips
                                                      Jessica E. Phillips (pro hac vice)
                                                      BOIES SCHILLER FLEXNER LLP
                                                4
Case 3:17-cv-00072-NKM-JCH Document 792-4 Filed 07/03/20 Page 6 of 6 Pageid#:
                                 11578



                                          1401 New York Ave NW
                                          Washington, DC 20005
                                          Telephone: (202) 637-2727
                                          Fax: (202) 237-6131
                                          jphillips@bsfllp.com

                                          Counsel for Plaintiffs




                                      5
